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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

 

 

IN RE: § CASE NO. 18-33250-bjh7
§
STANLEY L WRENN § CHAPTER 7
CYNTHIA M WRENN §
Debtor. §
§
BANK OF AMERICA, N. A. §
l\/[ovant, §
§
§ JUDGE BARBARA J. HOUSER
v. §
§
STANLEY L WRENN, Debtor §
CYNTHIA M WRENN, Joinl Debtor §
DANIEL J. SHERMAN, Trustee §
Respondents. §
AFFIDAVIT IN SUPPORT OF
MOTION F()R RELIEF FROM AUTOMATIC STAY
Dmltry Gozen . being duly sworn, deposes and states:
l. l am an AssistgntVice P[§sident of Bank of America, N.A., successor by

merger to BAC Home Loans Servicing, LP (“BANA”) and am authorized to sign this affidavit on
behalf of BANA, as movant (“Movant”) With respect to a certain loan (the “Loan”) provided to
Debtor(s), Which Loan'is evidenced by the Note (defined below) and secured by the Deed of Trust
(defined below). This Affidavit is provided in support of the Motion for Relief from Stay filed
contemporaneously herewith (the “Motion”). In preparation for signing this Affidavit, l have

reviewed the Motion and all Exhibits to the Motiori_

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2. As part of my job responsibilities for BANA, I am familiar with the types of records
maintained by BANA in connection with the Loan and the procedures for creating those types of
records. l have access to and have reviewed the books, records and files of BANA that pertain to
the Loan and extensions of credit given to Debtor(s) concerning the Property (defined below).

3. The information in this affidavit is taken from BANA's business records regarding
the Loan. I have personal knowledge of BANA's procedures for creating these types of records.
The records are: (a) made at or near the time of the occurrence of the matters recorded by persons
with personal knowledge of the information in the business record, or from information transmitted
by persons with personal knowledge; (b) kept in the course of BANA's regularly conducted
business activities; and (c) it is the regular practice of BANA to make such records.

4. The Debtor(s) has/have executed and delivered or is/are otherwise obligated with
respect to that certain promissory note in the original principal amount of $105,169.00 (the
“Note”). A true and correct copy of the Note is attached to the Motion as Exhibit “A”.

5 . Pursuant to that certain Deed of Trust (the “Deed of Trust”), all obligations
(collectively, the “Obligations”) of the Debtor(s) under and with respect to the Note and the Deed
of Trust are secured by the Property (as defined in the Motion). A true and correct copy of the
Deed of Trust is attached to the Motion as Exhibit “B”.

6. As of the January 18, 2019, the outstanding Obligations are;

 

 

 

 

 

 

 

 

 

 

Unpaid Principal Balance $80,640.44
Unpaid, Accrued lnterest $1,956.72
Uncollected Late Charges $54.09
Other Fees $2,602.30
Escrow Advance $5,238.14
Less: Partial Payrnents $(7.16)
Minimum Outstanding Obligations $90,484.53

 

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7. In addition to the other amounts due to Movant reflected in this Motion, as of the
date hereof, in connection with seeking the relief requested in this Motion, Movant has also
incurred $700.00 in legal fees and $181.00 is costs. All rights of Movant are reserved to seek an
award or allowance of such fees and expenses in accordance with applicable loan documents and
related agreements, the Bankruptcy Code and otherwise applicable law.

8. The following chart sets forth the number and amount of payments due pursuant to

the terms of the Note that have been missed by the Debtor(s):

 

 

 

 

 

 

 

 

 

Number of From To Monthly Total Missed
Missed Payment Payments
Payments Amount

ll 12/01/2017 10/01/2018 $735.50 $8,090.50

3 ll/Ol/2018 01/01/2019 $700.74 $2,102.22
Less post-petition partial payments: ($7.16)

 

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Total: §10,185.56

 

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9. Attached hereto as Exhibit “D” is a post-default payment history with respect to the

Obligations

Pursuant to 28 U.S.C. § 1746, l hereby declare under penalty of perjury under the laws of

the United States of America that the foregoing is true and correct. Executed this

February, 2019 _

gOéoLM/¢

Name: Dmitry Gozen
Title: Assistant Vice President

1 st day of

 

 

 

A notary public or other officer completing this
certificate verifies only the identity of the
individual who signed the document to which this
certificate is attached, and not the truthfulness,
accuracy, or validity of that document

 

 

 

CAL¢FOR/vl/-\
\/E/\/T(/lZ`A

State of

 

County of

be the person(s) who appeared before me.

 

. s f - l
Subscribed and sworn to (or affirmed) before me on this 1 day of PEBRl/A’/?YZO icf .
by DM l7_/2 Y 610 ZE/\/ , proved to me on the basis of satisfactory evidence to

MARY JoGMlNAs
Commlwon # 2120852
Notary Publ|c - Callfornla

(Seal) n Los Angeles County
/\/OTAIZ)/ PuBL/C M Comm.E

 

m Jul 26. 2019

 

 

